Case 1:18-cv-11642-VM-VF Document 30-2 Filed 03/14/19 Page 1 of 3

Court-Appointed Receiver for Link Motion, Inc.

R b t W S eiden Pursuant to The Honorable Victor Marrero
O er e United States District Court Southern District of New York

 

Robert W. Seiden. Esq. | The Seiden Group
469 Seventh Avenue. 3° Floor

New York, New York 10018

Tel: 212.523.0686

February 8, 2019

2019 E2 A844

Via Email / Bt Ha:
Vincent Shi

pw 4b

vincent@l|kmotion.com

IMMEDIATE ATTENTION REQUESTED / TIME SENSITIVE
Tee BY Sh

Re: Baliga v. Link Motion Inc. et al., CASE No. i:18-cv-11642 (United States
District Court, Southern District of New York)

Dear Vincent Shi,
agape nt sb EAE,

On February 1, 2019, a United States federal judge ordered that 1, Robert W. Seiden, be
appointed the Receiver for Link Motion, Inc. (formerly known as NQ Mobile, Inc.) (“Defendant”
or “Company”). Please find a copy of the Court Order appointing the Receiver attached.

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Please treat this letter as your opportunity to comply with the Court Order. Should you fail to
respond to this letter, and take the actions requested below, I shall seek to remove you from your
position at Link Motion, Inc and report this to the judge in New York.

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tee ESTA B

 

Roberi W. Seiden, Esq. |Court-Appointed Receiver
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Section 4 of the Court Order states as follows:

The appointment of the Receiver herein is binding upon the Defendants and their past and
present directors, officers, senior management, employees, agents, and stockholders of the
Company, who shall cooperate with the Receiver in the performance of his duties. Defendants
shall not in any way disturb or interfere with the Receiver's performance of his duties under this
Osder, Any actions to determine disputes relating to the Receiver or his actions shall be filed in
this Court.

ie BRS OT

HERES ANNES HHARRARKE ARTA ARS, HS, BREWBAR, BR
TL, RBARHR, FHSOULARSHRABEAN LTE. RERGUEMEATHAE
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Section 5 of the Court Order states as follows:

The Receiver is authorized to establish and maintain a bank account for the Company in the State

of New York to fund the Receivership, including the compensation and expenses of the

Receiver, which are subject to the approval of the Court. The Company shall be responsible for

funding the Receivership Account and is directed to cooperate with the Receiver in establishing

and funding the Receivership Account. The Receivership Account should maintain a minimum

balance of $100,000.00 and is to be replenished fully back to this level after any Court

approved disbursements.

VES HB FS :

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Please immediately fund the Receivership Account with $100,000.00. The wire information for
the Receivership Account is as follows:

BMRARE AK SIRT AR. REAKS HIRE:

Link Motion US, Inc.
101 E. Park Blvd., Suite 600
Plano, TX 75074

Citigroup SWIFT code for international transfer / Els SWIFT (Xf: CITTUS33
Routing # Fi | BS cH AR J Rae js 021272655

Account # / We: 204451553

Please acknowledge receipt of this letter and contact my in-house counsel Dov Gold, Esq. within
24 hours with any questions at 646-766-1703 or via email at dgold@seidentegal.com. 1 look
forward to, and thank you for, your prompt response.

 

Robert W. Seiden, Esq. | Court-Appointed Receiver
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EGY +1 646-766-1703, HEF HSE dgold@seidenlegal.com. Rie RWENARSEE.
Very truly yours,

US BY

Robert W. Seiden, Esq.
Court-Appointed Receiver for
Link Motion, Inc.

BARRE + SEIT

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Enclosures

BA AE

 

Robert W. Seiden, Esq. [| Court-Appointed Receiver
